Case 2:10-md-02179-CJB-DPC Document 12182-27 Filed 01/17/14 Page 1 of 2

>Tor Matt Lundy
>Subject: Re: Expedited Claims
5
>Thanks. I am told the payment will be wired today, the payment election
A— form and Firm W-9 had to be loaded inte the system which was done on
t oFriday. Please let ma know if you do not receive the wire today.
">
>Thanks
>
>Christine
>
>Sent from my iPhone
>
20n Sep 17, 2612, at 9:97 AM, "Matt Lundy” <mlundy@lundylawlip. com> wrote:
>
>> Will send shortly. Did you make any headway with the clein that hasn't
>>been paid?

>>
>> Thanks for your help,

>>

PR wre Original Message-----

>> From: Christine Reitano [mailto:creitano@dheclaims.com]
>> Sent; Monday, september 47, 2812 9:26 AM

>> To. Matt Lundy

>> Ce: Lynn Greer

>> Subject: Exnedited Claims

>> Matt

“To had forwarded your email designating the claims you wished to be
»>expedited to BrownGreer but there was no attachment. Could you please
>>resend with attachments if there are any? ~ °

>>

>? Thank you

>>

>> Christine

>>

>> Sent From my iPhone

>>

>>

>>Ssender for any loess or damage arising in any way from its use. If you
>>have received this email in error, please immediately notify the sender
>>by reply email or by telephone at 784-934-4999 ,
>>
>?

>

>This email (and any attachments) is confidential and is intended for use
>sclely by the properly named addressee, If you are not the intended

3

SM-02-JA00914

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